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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


IN RE: FEMA                                                                        MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                                                     SECTION “N-5"

                                                                        JUDGE ENGELHARDT

                                                                        MAG. JUDGE CHASEZ

THIS DOCUMENT IS RELATED TO:
Mark R. Mosley, as wrongful death beneficiary
and representative of Betty O. Mosley, Deceased, et al
v Gulf Stream Coach, Inc., et al
Case No. 2:10-cv-1356
______________________________________________________________________________

 MEMORANDUM IN SUPPORT OF PLAINTIFFS’ UNOPPOSED SECOND MOTION
          TO EXTEND TIME TO PERFECT SERVICE ON DEFENDANTS
______________________________________________________________________________

       COMES NOW PLAINTIFFS, through undersigned counsel, and respectfully request

additional time within which to perfect service on all Defendants. In support thereof, Plaintiffs

show the following:

       1.      The Complaint was originally filed in the Southern District of Mississippi on

December 23, 2009 (Case No. 1:09-cv-824).

       2.      Plaintiffs have been unable to serve the Defendants to date because Plaintiff

Eloise Gould has been unable to identify her contractor and pursuant to Pretrial Order 55,

summons could not be issued. Plaintiff and her counsel have undertaken the following efforts to

identify her contractor: submitted her information to FEMA for matching (FEMA’s response

only identified their manufacturer); and submitted a request for Plaintiffs’ IA File (said IA File

likewise failed to identify the contractor). Plaintiffs now intend to submit Ms. Gould’s

household to the Last Chance Matching Process. David Kurtz, liaison counsel for the Contractor
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Defendants, Henry T. Miller, counsel for the United States Department of Justice, and Andrew

Weinstock, counsel for Gulf Stream, have all indicated that they do not oppose Plaintiffs’

motion.

       3.      Plaintiffs assert that the foregoing creates good cause pursuant to FRCP Rule

4(m) for the court to extend the deadlines for service until August 2nd, 2010.

       WHEREFORE PREMISES CONSIDERED, the Plaintiffs respectfully move this Court

to extend the deadline until August 2nd, 2010 to insure that service is perfected on all parties.

       Respectfully submitted this the 23 day of June, 2010.

                                                      By:             s / Rose M. Hurder
                                                                      Rose M. Hurder

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2010 I electronically filed the foregoing with the Clerk

of Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record who are CM/ECF participants. I further certify that I mailed the foregoing document

and the notice of electronic filing by first-class mail to all counsel of record who are non-

CM/ECF participants.



                                                                      s / Rose M. Hurder
                                                                      ROSE M. HURDER
